           Case 2:07-cr-00302-GEB Document 26 Filed 08/28/07 Page 1 of 4


1    MICHAEL B. BIGELOW
     Attorney at Law
2    State Bar No. 65211
     428 J Street, Suite 350
3    Sacramento, CA 95814
     Telephone: (916) 443-0217
4
     Attorney for Defendant
5    Jamol Barker
6                    IN THE UNITED STATES DISTRICT COURT
7               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,         )   Case No. Cr.S-07-302 GEB
                                       )
10              Plaintiff,             )   REQUEST RE: APPOINTMENT;
                                       )   STIPULATION CONTINUING
11        vs.                          )   ARRAIGNMENT AND DETENTION
                                       )   HEARING; ORDER
12                                     )
                                       )   Date: August 31, 2007
13   JAMOL DEVON BARKER                )
                                           Time: 2:00 PM
                                       )
14                                     )   Court: DAD
                Defendant
                                       )
15
                             REQUEST FOR APPOINTMENT
16
          In this matter undersigned counsel is seeking appointment
17
     of the above named defendant in the above referenced matter. Mr.
18

19
     Barker qualifies for the services of appointed counsel.

20       STIPULATION TO CONTINUE ARRAIGNMENT AND DETENTION HEARING

21        For the reasons stated below the parties, through their

22   respective counsel stipulate and agree that Mr. Barker’s

23   arraignment in the above referenced matter may be continued to
24   August 31, 2007 at 2:00 PM. It is also agreed that the matter of
25
     detention is submitted to the Court and that Mr. Barker will be



                                        -1-
           Case 2:07-cr-00302-GEB Document 26 Filed 08/28/07 Page 2 of 4


1    temporarily detained, without prejudice to reopen the detention
2    hearing at some future date.
3
          Undersigned was first asked to represent the defendant on
4
     August 21, 2007 when he was incarcerated outside of the Eastern
5
     District. It was requested that arrangements be made to have him
6
     brought to the Eastern District for arraignment on the present
7
     charges. I discussed the matter that day, including the charges,
8
     by telephone, with Mr. Barker and had a subsequent discussion
9
     with AUSA Ken Melikian. Neither Mr. Melikian nor I knew exactly
10
     when Mr. Barker would be produced to this Court for Arraignment.
11

12
     As circumstances would have it, the matter is presently set for

13   arraignment in this Court on today’s date, August 28, 2007 at

14   2:00 PM.

15        Unfortunately, I have very complicated meeting involving a

16   number of people scheduled for the same time period in Fresno,
17   California in the matter of the United States v. Vue. It is a
18
     meeting which dare not be postponed. In addition, immediately
19
     following my Fresno meeting I will be departing for Little Rock
20
     Arkansas to meet with a witness in the Thornton habeas matter,
21
     not returning until Thursday, August 30, 2007.
22
          I have discussed this stipulation with my client and he is
23
     in agreement.
24

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           Case 2:07-cr-00302-GEB Document 26 Filed 08/28/07 Page 3 of 4


1         I declare under penalty of perjury that the foregoing is
2    true and correct and that this declaration was executed on the
3
     28th day of August, at Sacramento, California.
4
          DATED: August 28, 2007              Respectfully submitted
5

6
                                              /S/MICHAEL B. BIGELOW
7                                             Michael B. Bigelow
                                              Attorney for Defendant
8

9    IT IS SO STIPULATED

10

11   /S/KEN MELIKIAN, Esq.,
     Ken Melikian, Esq.,                      Dated: August 28, 2007
12
     Assistant United States Attorney
13
     Attorney for Plaintiff

14
     /S/MICAHEL B. BIGELOW                    Dated: August 28, 2007
15   Michael B. Bigelow
     Attorney for Defendant
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            Case 2:07-cr-00302-GEB Document 26 Filed 08/28/07 Page 4 of 4


1                                        ORDER
2          IT IS ORDERED that attorney Michael B. Bigelow, Esq., shall
3
     be appointed to represent defendant Jamol Devon Barker in the
4
     above referenced matter;
5
           IT IS FURTHER ORDERED that pursuant to the request of the
6
     defense and upon the stipulation of the parties, the above-
7
     referenced matter shall be continued to August 31, 2007 at 2:00
8
     p.m. for further arraignment and detention hearing.          The
9
     defendant, Jamol Barker, shall remain temporarily detained until
10
     that date.
11

12
     DATED: August 28, 2007.
13

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16

17   Ddad1/orders.criminal/barker0302.stipord

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